       Case 1:24-cv-05491-NRB            Document 81       Filed 05/20/25       Page 1 of 3




                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                   )
 SOUNDEXCHANGE, INC.                               )
                                                   )   Civil Action No. 1:24-cv-05491-NRB
                                 Plaintiff,        )
        v.                                         )
                                                   )
 SIRIUS XM RADIO INC.                              )
                                                   )
                                 Defendant.        )



                       JOINT REQUEST AND PROPOSED ORDER
                    TO STAY THE PROCEEDING FOR NINETY DAYS

       Plaintiff SoundExchange, Inc. and Defendant Sirius XM Radio Inc. (collectively, the

“Parties”) jointly request that the Court stay the proceeding for good cause.

       The Parties are engaged in settlement discussions and believe a ninety (90) day stay may

facilitate an orderly and amicable resolution of this matter. There is no scheduling order entered

in this case and discovery has not yet commenced. There is no trial date. The Parties have fully

briefed their positions regarding Defendant’s motion for judgment on the pleadings (ECF Nos. 62,

70-71, 79-80) and oral argument on the same has been requested but not yet scheduled. The Parties

believe that a hearing or ruling on said motion would be disruptive to settlement discussions.

       Accordingly, as set forth in the attached proposed Order, the Parties jointly request this

proceeding be stayed for ninety (90) days from the date of entry of this Order to allow the Parties

to continue their settlement discussions. If the settlement discussions result in a resolution, the

Parties will promptly file an appropriate dismissal with the Court.         If discussions remain

productive, but a resolution has not been reached within 90 days, the Parties may jointly request
       Case 1:24-cv-05491-NRB           Document 81        Filed 05/20/25      Page 2 of 3




an extension of the stay. If the settlement discussions are not successful, the Parties shall notify

the Court.



Dated: May 20, 2025                               Respectfully submitted,



By: _/s/ Scott Zebrak_____________                   By: _s/s Todd Larson______________



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         Case 1:24-cv-05491-NRB           Document 81        Filed 05/20/25     Page 3 of 3




                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                     )
 SOUNDEXCHANGE, INC.                                 )
                                                     )   Civil Action No. 1:24-cv-05491-NRB
                                  Plaintiff,         )
          v.                                         )   [Proposed] Order to Stay the
                                                     )   Proceeding for Ninety Days
 SIRIUS XM RADIO INC.                                )
                                                     )
                                  Defendant.         )


     The Court, having considered the Parties’ Joint Request to Stay the Proceeding for Ninety

Days, and good cause having been shown, hereby orders as follows:

   1. This proceeding be stayed for ninety (90) days from the date of entry of this Order to allow

         the parties to continue their settlement discussions.

   2. If the settlement discussions result in a resolution, the Parties will promptly file an

         appropriate dismissal with the Court.

   3. If discussions remain productive, but a resolution has not been reached within 90 days, the

         Parties may jointly request an extension of the stay.

   4. If the settlement discussions are not successful, the Parties will promptly notify the Court.



IT IS SO ORDERED.



Dated:

__________________                                               _________________________

                                                                 NAOMI REICE BUCHWALD
                                                                 United States District Judge
